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                                                     Exhibit “3”

  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------------X
  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, GEICO INDEMNITY COMPANY, GEICO                                Docket No.:
  GENERAL INSURANCE COMPANY and GEICO                                    1:22-cv-02834-PKC-MMH
  CASUALTY COMPANY,

                                              Plaintiffs,

                    -against-

  ELENA BORISOVNA STYBEL, D.O., ELENA
  BORISOVNA STYBEL, M.D. (A Sole Proprietorship),
  EVERGREEN & REMEGONE LLC, YANA
  MIRONOVICH, NEW YORK BILLING AND
  PROCESSING CORP., ERIC MELADZE, BLUE TECH
  SUPPLIES INC., SUNSTONE SERVICES INC., and
  JOHN DOE DEFENDANTS “1” through “10”,

                                                Defendants.
  -------------------------------------------------------------------X

                      STIPULATION OF DISMISSAL WITHOUT PREJUDICE

  IT IS HEREBY STIPULATED AND AGREED by and between the undersigned counsel for

  Plaintiffs, Government Employees Insurance Company, GEICO Indemnity Company, GEICO

  General Insurance Company and GEICO Casualty Company (collectively, “Plaintiffs”) and

  Defendants Elena Borisovna Stybel, D.O., Elena Borisovna Stybel, M.D. (A Sole Proprietorship),

  and Yana Mironovich (collectively, the “Defendants”) that all claims by Plaintiffs against the

  Defendants are dismissed without prejudice pursuant to Fed. R. Civ. Proc. 41(a). Plaintiffs and the

  Defendants shall bear their own costs and attorneys’ fees in connection with the prosecution and/or

  defense of this action.

  Dated: January 5           , 2024




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